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  AU 245B (Rev 12103) Judgment in a Criminal Case
           Sheet I
                                                                                                                            FILED
                                                                                                                       U S DI Vi'i CCT
                                       United States District Court
                                                    SOUTHERN DISTRICT OF GEORGIA
                                                         AUGUSTA DIVISION                                               23 EP I S P 2: • !4 b

           UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CAF4r4/
                       V.
                 Larry Thomas Harris                                          Case Number:               CR1O7-00135-OO1
                                                                              USM Number:                16189-171

                                                                              Danny Durham and
                                                                              Henry Nelson Crane, III
                                                                              Defendant's Attorneys

  THE DEFENDANT:
[X]        pleaded guilty to Counts1 and 8
           pleaded nob contendere to Count(s) - which was accepted
           by the court.
     I     was found guilty on Count(s)_ after a plea of not guilly.

  The defendant has been convicted of the following offense(s):


             Title & Section               Nature of Offense                                          Offense Ended                Count

   21 U.S.C. § 841(a)(1)and 846            Conspiracy to distribute and possess with intent         November 9, 2007
                                           to distribute 50 grams or more of cocaine base

                                           Possession with intent to distribute 50 grams or        September 26, 2007
            21 U.S.C. § 841
                                           more of cocaine base
         The defendant is sentenced as provided in pages 2 through ofthisjudgment. The sentence is imposed pursuant to the Sentencing
  Reform Act of 1984.
           The defendant has been found not guilty on count(s)_.
  [XJ      Counts 2 through 5 are dismissed on the motion of the United States
            It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
  residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
  to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.


                                                                                   September
                                                                                   Date of


                                                                                              of Judge


                                                                                   Dudley H. Boen, Jr.
                                                                                   United State 1 trict Judge
                                                                                  Name          ticofJg


                                                                                   Date
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A0 245B (Rev 12/03) Jud g ment in a Criminal Case. :                                                    Judent-Page 2 of 6
         Sheet 2 - Imprisonment

DEFENDANT: Larry Thomas Harris
CASE NUMBER: CR1O7-00135-OO1
                                                       IMPRISONMENT
           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
           for a total term of: 132 months. This term consists of terms of 132 months as to each of Counts 1 and 8,
           to be served concun-ently.

[X] The Court makes the following recommendations to the Bureau of Prisons: That the defendant be designated
      to the Bureau of Prisons facility in Estill, South Carolina. Furthermore, it is recommended that the defendant
       be evaluated by Bureau of Prisons officials to establish his participation in an appropriate program of
       substance abuse treatment and counseling during his term of incarceration.

[X]        The defendant is remanded to the custody of the United States Marshal.

[ II       The defendant shall surrender to the United States Marshal for this district:

               ] at      { ] a.m. [ ] p.m. on ______
               J as notified by the United States Marshal.

II I       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           II I   before 2 p.m. on ______
               J as notified by the United States Marshal.
               ] as notified by the Probation or Pretrial Services Office.
                                                          RETURN
           I have executed this judgment as follows:




           Defendant delivered on                             to
at                                                       with a certified copy of this judgment.




                                                                                           United States Marshal


                                                                                  By
                                                                                        Deputy United States Marshal
                    Case 1:07-cr-00135-DHB-BKE Document 75 Filed 09/15/08 Page 3 of 6
AO 24513 (Rev 12103) Judgment in a Criminal Case                                                                                         judgment-Page 3 of 6
        Sheet 3 - Supervised Release

DEFENDANT: Lany Thomas Harris
CASE NUMBER: CR1O7-00135-OO1
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 5 years. This term consists of terms of 5 years supervised
release as to each of Counts I and 8, to be served concurrentl y -

          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody
of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
court.

[1        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future substance abuse.
          (Check, if applicable.)

 x1       The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[XI       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[I        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student, as
          directed by the probation officer. (Check, if applicable.)

II]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

         If this judgment imposes a line or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
attached page.
                                             STANDARD CONDITIONS OF SUPERVISION

1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;

2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each month;

3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4)        the defendant shall support his or her dependents and meet other family responsibilities;

5)        the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other acceptable
          reasons;
6)        the defendant shall notifi the probation officer at least ten days prior to any change in residence or employment;
'7)       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
          or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted permission to do so by the probation officer;
10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shalt permit confiscation of any
          contraband observed in plain view of the probation officer;
II)       the defendant shall noti the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
          of the court;
13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
          or personal history or characteristics and shall permit the probation officer to make such notification and to confirm the defendant's compliance
          with such notification requirement; and
I 4)      Any possession. use, or attempted use of any device to impede or evade drug testing shall be a violation of supervised release.
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AO 245B (Rev 12/03) Judgment in a Criminal Case:                                                       Judncnt-Pagc 4 of &
        Sheet 3C - Supervised Release

DEFENDANT: Lany Thomas Harris
CASE NUMBER: CR1O7-00135-00l


                                           SPECIAL CONDITIONS OF SUPERVISION

          The defendant shall participate in a program of testing for drug and alcohol abuse and, if the Court
          determines it is necessary, the defendant shall participate in a program of treatment for drug and alcohol
          abuse.
2.        The defendant shall refrain from participation in any gangrelated activity or association with gang members.
          The defendant shall provide the probation officer with access to any requested financial information. The
          defendant shall not incur new credit charges or open additional lines of credit without the approval of the
          probation officer unless the defendant is in compliance with the installment payment schedule.
4. The defendant shall submit his person, residence, office, or vehicle to a search conducted by the United
       States Probation Officer at a reasonable time and in a reasonable maimer, based upon reasonable suspicion
       of contraband or evidence of a violation of a condition of release; failure to submit to a search may be
       grounds for revocation. The defendant shall warn any other residents that the premises may be subject to
       searches pursuant to this condition.
          A curfew is imposed as a special condition of supervised release. The defendant shall not leave his
          residence from 10:00 p.m. until 6:00 am. during the period of supervision except when such leave is
          approved in advance by the probation officer.

                                                    ACKNOWLEDGMENT
Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.
These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


     (Signed)
                    Defendant                                           Date




                    U. S. Probation Officer/Designated Witness          Date
                    Case 1:07-cr-00135-DHB-BKE Document 75 Filed 09/15/08 Page 5 of 6
AG 245B (Rev 12/03) Judgment in a Criminal Case:                                                                             Judgment-Page 5 of 6
       Sheet 5 - Criminal Monetary Penalties

DEFENDANT: Larry Thomas Harris
CASE NUMBER: CR1O7-001 35-00 1
                                               CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                                           Assessment                      Fine                   Restitution

 Totals:                                                           $200                  $3,000

I ] The determination of restitution is deferred until          An Amended .Judgmenl in a Criminal Case (AO 245C) will be entered after
           such a determination.

     I The defendant must make restitution (including community restitution) to the following payees in the amounts listed below.

          if the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
          otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
          victims must be paid before the United States is paid.


              Name of Payee                        Total Loss               Restitution Ordered                  Priority or Percentage
                                                      $0.00                          $0.00


                 Totals:                              $0.00                           $0.00


           Restitution amount ordered pursuant to plea agreement

     It The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
           the fifteenth day after the date ofjudgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
           to penalties for delinquency and default pursuant to 18 U.S.C. § 36 12(g).
[X         The court determined that the defendant does not have the ability to pay interest and it is ordered that:

           [Xl      The interest requirement is waived for the       [X] fine       [ ] restitution.
           FI       The interest requirement for the    [ fine         [ ] restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 1 09A, 110, 11 OA and 1 1 3A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
                     Case 1:07-cr-00135-DHB-BKE Document 75 Filed 09/15/08 Page 6 of 6
 A0 245B (Rev 12/03) Judgment in a Criminal Case:                                                                             Judgment-Page 6 of 6
          Sheet 6 - Criminal Monetary Penalties

DEFENDANT: Larry Thomas Harris
CASE NUMBER: CR1O7-00135-OO1
                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A LX] Lump sum payment of$                 due immediately, balance due

              ] not later than _; or
            [X] in accordance with I ] C, [ I D, [ } E, or [X} F below; or

B [ ] Payment to begin immediately (may be combined with [ I C, [ ] D, or [ ] F below); or

C[]       Payment in equal - (e.g., weekly, monthly, quarterly) installments of over a period of (e.g., months or years), to commence
          - (e.g., 30 or 60 days) after the date of this judgment; or

D[]       Payment in equal - (e.g., weekly, monthly, quarterly) installments of$ over a period of         (e.g., months or years), to commence
          je.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

F [ ] Payment during the term of supervised release will commence within - (eg., 30 or 60 days) after release from imprisonment.
         the court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F [X]     Special instructions regarding the payment of criminal monetary penalties:

          While in the custody of the Bureau of Prisons, the defendant shall make payments of either quarterly installments of a minimum
          of $25 if working non-UNICOR or a minimum of 50 percent of monthly earnings if working UNICOR. Upon release from
          imprisonment and while on supervised release, the defendant shall make minimum monthly payments of$ 100 over a period of
           30 months.

          All monetary payments are to be made payable to: Clerk, U. S. District Court, P. 0. Box 1130, Augusta, Georgia 30993.

Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[]        Joint and Several
             Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
             Amount, and corresponding payee, if appropriate:


1]        The defendant shall pay the cost of prosecution.

          The defendant shall pay the following court cost(s):


          The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (I) assessment; (2) restitution principal; (3)restitution interest; (4) fine princip&; (5) fme
interest; (6) community restitution; (7) penalties, and (8) costs, including cost of prosecution and court costs.
